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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 EMW WOMEN’S SURGICAL CENTER,
 P.S.C. and ERNEST MARSHALL, M.D.,                                                     Plaintiffs,

 v.                                                           Civil Action No. 3:19-cv-178-DJH

 ANDREW G. BESHEAR, in his official
 capacity as Attorney General of the
 Commonwealth of Kentucky, et al.,                                                   Defendants.

                                             * * * * *

                    MEMORANDUM OF CONFERENCE AND ORDER

       A telephonic status conference was held in this matter on March 27, 2019, with the

following counsel participating:

       For Plaintiffs:        Amy Cubbage
                              Brigitte Amiri
                              Heather Gatnarek
                              Kendall Turner

       For Defendants:        La Tasha Buckner
                              Stephen Pitt
                              Chad Meredith
                              Matt Kuhn

The Court and counsel discussed the procedural posture of the case. Counsel advised the Court

that the remaining parties had agreed to forgo a hearing on Plaintiffs’ motion for preliminary

injunction and to extend the temporary restraining orders currently in effect. Based on the

discussion during the conference, and the Court being otherwise sufficiently advised, it is hereby

       ORDERED as follows:

       (1)     The hearing set for March 29, 2019, is REMANDED from the Court’s docket.

       (2)     The briefing schedule previously set is VACATED.            One or more briefing

schedules will be set by subsequent order.

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       (3)      By agreement of the parties and pursuant to Federal Rule of Civil Procedure

65(b)(2), the temporary restraining orders entered March 15, 2019 (Docket No. 14) and March 20,

2019 (D.N. 21) are EXTENDED through the date of the final ruling in this case.

       (4)      Defendants Beshear, Rodman, and Wine having been dismissed from this action

(D.N. 29; D.N. 30; D.N. 31), the Clerk of Court is DIRECTED to modify the case caption to

reflect that Adam Meier is the sole remaining defendant.

       March 27, 2019




                                                      David J. Hale, Judge
                                                   United States District Court
Court Time: 00/15
Court Reporter: Dena Legg




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